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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 2:20-cv-14219-ROSENBERG/MAYNARD

  FELIPE BALTAZAR,

          Plaintiff,

  v.

  B. GREEN & MORE LANDSCAPING, INC.
  and BILLY M. LOPEZ

        Defendants.
  ___________________________________/

       GRANT OF SETTLEMENT APPROVAL AND FINAL ORDER OF DISMISSAL

          THIS CAUSE comes before the Court upon the parties’ Renewed Joint Motion for Entry

  of Order Approving Settlement and Dismissing Case with Prejudice. DE 29. After careful

  consideration of the Motion and the Settlement Agreement at docket entry 29-2, as required

  under Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982), the Court

  finds that the Settlement Agreement is a fair and reasonable resolution of a bona fide FLSA

  dispute.

          It is hereby ORDERED AND ADJUDGED that the parties’ Renewed Joint Motion for

  Entry of Order Approving Settlement and Dismissing Case with Prejudice [DE 29] is

  GRANTED and that this action is DISMISSED WITH PREJUDICE. The Court shall retain

  jurisdiction to enforce the terms of the Settlement Agreement only for a period of 30 days.

          DONE AND ORDERED in Chambers at West Palm Beach, Florida, this 29th day of

  September, 2020.

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                                                      ROBIN L. ROSENBERG
  Copies furnished to: Counsel of Record              UNITED STATES DISTRICT JUDGE
